        Case 8:04-cr-00521-SDM-MAP Document 135 Filed 05/10/05 Page 1 of 6 PageID 339
A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:M-cr-521-T-23MAP
                                                              USM NUMBER: 42374-018



ELBERT GASSAN McNISI~ISTEPHENSON
                                                              Defendant's Attorney: Darlene Barror, cja

THE DEFENDANT:

X pleaded guilty to counts ONE and TWO of the Indictment.

TITLE & SECTION                              NATURE OF OFFENSE                           OFFENSE ENDED             COUNT

46 Appendix U.S.C. SS 1903(a),               Possession With Intent to Distribute 5      October 2 1. 2004         ONE
and 1903(g), 18 U.S.C. 5 2: and              Kilograms or More of Cocaine While
21 U.S.C. $ 960(b)(l)(B)(ii)                 Aboard a Vessel Subject to the
                                             Jurisdiction of the United States

46 Appendix U.S.C. SS 1903(a),               Conspiracy to Possess With Intent to      October 21, 2004            TWO
1903(g), and 1903Q): and 21 U.S.C.           Distribute 5 Kilograms or More of Cocaine
5 960(b)(l)(B)(ii)                           While Aboard a Vessel Subject to the
                                             Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence. or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: hlay 9, 2005




                                                                                    STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: May ' H 2 0 0 5
         Case 8:04-cr-00521-SDM-MAP Document 135 Filed 05/10/05 Page 2 of 6 PageID 340
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         ELBERT GASSAN McNISH STEPHENSON                                               Judgment - Page 2 of &
Case No.:          8:04-cr-521-T-23MAP



                 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
inlprisoned for a total term of EIGHTY-SEVEN (87) MONTHS as to counts one and two, both terms to run concurrently.




-
X The court makes the following recon~n~endations
                                               to the Bureau of Prisons: (1) that the defendant be placed in FCI Fort
Dix, New Jersey and (2) that the defendant be allowed to participate in an auto mechanic training program, if available.



-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this diswict.
          - at -a.rn.1p.m. on -.
         - as notilied by the United Sutes Marshal.

-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United Slates Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




            Defendant delivered on                                               to

at                                                                        , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                        By:
                                                                        Deputy Marshal
        Case 8:04-cr-00521-SDM-MAP Document 135 Filed 05/10/05 Page 3 of 6 PageID 341
                              -
A 0 245B (Rev. 12/03) Sheet 3 Supervised Release

Defendant:        ELBERT GASSAN McNISII STEPHENSON                                               Judgment - Page 3of 6
Case No.:         894-cr-521 -T-23hIAP

                                                       SUPERVISED RELEASE
        Upon release from imprisonnxnt, the defendant shall be on supervised release for a term of SIXTY (60) hlONTHS as to
counts one a n d two, both terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal. state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. $ 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary. the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions thar have been adopted by this court as well as with any additional
          conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not lcave the judicial district without the permission of thc court or probation officer:
          the defendant shall report to the probation officer and shall submit a truthful and complcte written rcport within thc first fivc days
          of each month:

          the defendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of thc probation officer;
          the defendant shall support his or her dependents and meet other family rcsponsibilitics;

          the dcfcndant shall work rcgularly at a lawful occupation, unless excused by the probation officcr for schooling, training, or other
          acceptable rcasons;
          the dcfcndant shall notify the probation officcr at least ten days prior to any change in residencc or cmployrncnt:
          the defendant shall refrain from cxccssive use of alcohol and shall not purchase. possess, use, distribute. or administer any
          controlled substance or any paraphernalia related to any controlled substances. cxccpt as prcscribcd by a physician:
          the defendant shall not frequent places where controlled substances arc illegally sold, uscd, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person con\icted
          of a felony, unlcss grantcd permission to do so by the probation officer;
          the defendant shall permit a probation officcr to visit him or her at any time at home or elsewhcrc and shall pcrmit confiscation of
          any contraband observed in plain view of the probation officer;
          the defendant shall notify thc probation officer within seventy-hvo hours of bcing arrested or questioned by a law cnforccmcnt
          officer:
          thc dcfcndant shall not cntcr into any agreement to act as an informcr or a spccial agent of a law cnforccment agency without the
          permission of the court:
          as dircctcd by the probation officcr, thc dcfcndant shall notifythird parties ofrisks that may be occasioncd by thc dcfcndant's criminal
          record or personal history or characteristics and shall permit the probation ofliccr to niakc such notifications and to confirm the
          defendant's compliancc with such notification rcquircmcnt.
       Case 8:04-cr-00521-SDM-MAP Document 135 Filed 05/10/05 Page 4 of 6 PageID 342
A 0 245B (Rev. 12103) Sheer 3C - Supervised Release

Defendant :       ELBERT GASSAN McNlSH STEPI-IENSON                                        Judgment - Page 4 of 6
Case No.:         8:Wcr-521-T-23MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply wilh the following additional condi~ionsof supervised release:
X        If the defendant is deponed, he shall not re-enter the United States without the express permission of the appropriate
         governmental authority.
       Case 8:04-cr-00521-SDM-MAP Document 135 Filed 05/10/05 Page 5 of 6 PageID 343
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         ELBERT GASSAN McNISH STEPHENSON                                          Judgment - Page 5 of 6
Case No. :         8:04-cr-521-T-23MAP

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                         -
                                                               Fine                         Total Restitution

         Totals:            $200.00                            $ waived                     $


-        The determination of restitution is deferred until -.          An Amelided Jztdgntent in a Crirriinal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
                                                                       d
         3664(i), all non-federal victims must be paid before the nited States.
                                                                                                            Priority Order or
                                                *Total                     Amount of                        Percentage of
Name of Pavee                                 Amount of Loss            Restitution Ordered                 Pavment




                            Totals:           L                            $


-        Restitution amount ordered pursuant to plea agreement $
-        The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth$  after the date of the judgment, ursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
                                                               P
         6 may be subject to penalties for delinquency and de auk, pursuant to 18 U.S.C. 8 3612(g).

-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine       - restilulion.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A. 110, llOA, and 113A of Title 18 for the offenses
                                                                   f
committed on or after September 13. 1994. but before April 23, 1 96.
        Case 8:04-cr-00521-SDM-MAP Document 135 Filed 05/10/05 Page 6 of 6 PageID 344
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payruents

Defendant:        ELRERT GASSAN McNISH STEPHENSON                                          Judgment - Page 6of 6
Case No.:         8:M-cr-521-T-23MAP


                                                 SCIIEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                    , Or

                            -in accordance - C, - D, - E or - F below; or
B.                Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal                 (e.g., weekly. monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) afier the
                  date of this judgment; or
D.       -        Payment in equal                       weekly, monthly, quarterly) installments of $             over a
                  period of                       'e.k.s or years) to commence
                                        , (e.g., mon                                            (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of                                      of criminal
        %                               F                             S
moneta penalties is due during in1 risonrnent. All crirnina monetary penalties,
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest. (4) fine principal,
(5) community restitution, (6) tine interest (7) penalties, 'and (8) costs, including cost of prosecution and court costs.
